                   Case 3:06-cr-00066-LC                  Document 278    Filed 04/30/08        Page 1 of 1
OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                for the

                                            NORTHERN DISTRICT OF FLORIDA
                   United States of America                       )
                              v.                                  )
                     Kenneth Stallworth                           ) Case No: 3:06cr66/LAC
                                                                  ) USM N o: 06419-017
Date of Previous Jud gment:        12 September 2006              )
(Use Date of Last Amended Judgment if Applicable)                 ) Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of : the defendant 9 the Director of the Bureau of Prisons 9 the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       : DENIED. 9 GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of            months is reduced to                            .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:       33               Amended Offense Level:                                   31
Criminal History Category:     IV              Criminal History Category:                               IV
Previous Guideline Range: 188    to 235 months Amended Guideline Range:                              151      to 188     months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
9 The reduced sentence is within the amended guideline range.
9 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
9 Other (explain):
 III. ADDITIONAL COMMENTS
         Although the defendant’s guideline imprisonment range is reduced to 151 to 188 months pursuant to Amendment
706 to the Sentencing Guidelines, the mandatory minimum term of imprisonment of 240 months exceeds the maximum of
the amended guideline imprisonment range pursuant to §5G1.1(b). For this reasons, the defendant is not eligible for any
relief pursuant to Amendment 706.
Except as provided above, all provisions of the judgment dated 12 September 2006 shall remain in effect.
IT IS SO ORDERED.


Order Date:            30 April 2008                                                 s /L.A. Collier
                                                                                        Judge’s signature


Effective Date:                                                           Lacey A. Collier, Senior U.S. District Judge
                     (if different from order date)                                  Printed name and title
